           Case 1:19-cr-03599-JAP Document 21 Filed 10/30/19 Page 1 of 3



                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

        Plaintiff,
vs.                                                             No. CR 19-3599 JP

JOHN YOUNGBOY LODGEPOLE,

        Defendant.
                                               ORDER

        On October 29, 2019 Defendant filed Defendant’s Unopposed Motion to Continue [Doc.

No. 20]. Mr. Lodgepole is charged by an indictment with the following: one count of Voluntary

Manslaughter (in violation of 18 U.S.C. § 1153 and 1112). Mr. Lodgepole requests a

continuance to complete several tasks; to prepare and file any necessary pretrial motions; to

review discovery; to enter into plea negotiations with the government and to conduct an

investigation, including interviewing witnesses. Having considered the matters raised by the

motion to continue the trial date, I find that there is insufficient time to prepare for a trial

beginning December 2, 2019. Consequently, the trial setting of December 2, 2019 should be

vacated and trial should be rescheduled, if one is needed, on February 3, 2020 at 1:30 p.m. in

Albuquerque, New Mexico. I find under 18 U.S.C. §3161(h)(7)(A) that the ends of justice

served by granting the motion to continue the trial from December 2, 2019 to February 3, 2020

outweigh the best interests of the public and the Defendant in a speedy trial, because denial of

the motion would result in a miscarriage of justice by denying the parties adequate time to

prepare for trial. Continuance of the trial from December 2, 2019 to February 3, 2020 does not

result from congestion of the Court’s docket; instead, continuance is required for the reasons

stated above.

        IT IS THEREFORE ORDERED THAT: The motion to continue the trial date of

December 2, 2019 is granted; and
         Case 1:19-cr-03599-JAP Document 21 Filed 10/30/19 Page 2 of 3



       1. The new date for the call of the calendar is set on, Thursday, January 23, 2020 at

           11:00 a.m. at the U.S. Courthouse, 421 Gold Ave. S.W. ~ Sixth Floor Courtroom.

           The trial is rescheduled on February 3, 2020 at 1:30 p.m., at the U.S.

           Courthouse, 333 Lomas Blvd. N.W., ~Third Floor, Pecos Courtroom; and

       2. The deadline for filing of Pretrial Motions is December 20, 2019; and

       3. The time between December 2, 2019 to February 3, 2020 is excluded for purposes of

the Speedy Trial Act, 18 U.S.C. §3161 et seq.




                                           SENIOR UNITED STATES DISTRICT JUDGE
          Case 1:19-cr-03599-JAP Document 21 Filed 10/30/19 Page 3 of 3



                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO
                      BEFORE THE HONORABLE JAMES A. PARKER

      By direction of The Honorable James A. Parker, this case is scheduled for jury selection
and trial on a trailing calendar beginning on Monday, February 3, 2020 at 1:30 p.m. at the U.S.
Courthouse, 333 Lomas Blvd. N.W. 3rd Floor– Pecos Courtroom.

       A call of the calendar is set for Thursday, January 23, 2020 at 11:00 a.m. The call of the
calendar will be held at the U.S. Courthouse, 421 Gold Ave. S.W. 6th Floor Courtroom. The
defendant does not need to be present.

       Motions in Limine must be filed by January 3, 2020.
       Responses to Motions in Limine must be filed by January 10, 2020.
       Replies related to Motions in Limine must be filed by January 17, 2020.
       Proposed Voir Dire questions to the jury and Jury Instructions must be filed by January
       17, 2019.

        The court must be advised of all plea agreements not later than Monday,
January 20, 2020. The court will not accept a plea after that date except to at least one count of
the indictment.

                           Please check the Court’s website at:
              https://www.nmd.uscourts.gov/content/honorable-james-parker
for information regarding trial preparation, the call of the calendar, and jury instructions.

      Inquiries and notice of change of plea should be directed to Juan Gonzales, Courtroom
Deputy at (505) 348-2247.

       I hereby certify that a copy of this calendar was served by mail or electronic means--to
counsel of record as they are shown on the Court's docket.



                              MITCHELL ELFERS, CLERK OF COURT
